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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 BRETT GOLDBERG,
                                            Civil Action No. 1:20-cv-3665
                        Plaintiff,

 v.
                                            (JURY TRIAL DEMANDED)
 PACE UNIVERSITY,

                        Defendant.


                             SECOND AMENDED COMPLAINT

        Plaintiff Brett Goldberg (“Plaintiff”) by and through undersigned counsel, hereby

complains of Pace University (“Defendant” or “Pace”) as follows:

                                      INTRODUCTION

        1.     Plaintiff brings this case as a result of Defendant’s decision to substantially reduce

the Plaintiff’s educational and other benefits, but without any reduction in charges, in

conjunction with Defendant’s decision to close the campus, and transition all classes to an

online/remote format as a result of the Novel Coronavirus Disease (“COVID-19”).

        2.     While transitioning to online classes was important in view of the current

pandemic, this decision deprived Plaintiff from realizing the benefits of the in-person instruction

and program he has paid for. Those benefits included, but are not limited to, allowing Plaintiff to

learn in-person and to showcase his play to professional “representatives from the theater, film

and television industries” in the Repertory Season (“Rep-Season,”), the culmination of three

years of in-person instruction and collaboration at Pace’s “The Actors Studio Drama School,”

(“The Actors Studio”) in exchange for which he had already paid Fees and tuition.

        3.     Defendant has admitted that the Rep-Season included “professional productions



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of the work students have created during their three years with us [i.e., Pace].” Exhibit 1, at 1.

        4.     Defendant has also advertised that the Rep-Season was “designed to introduce

graduating students to the professional world and the public in fully-professional productions of

the work they have created during their three years of study.” Exhibit 2, at 1.

        5.     The advertised MFA curriculum specifically states that “In the third year, the

three groups [i.e., playwrights, actors and directors] apply their knowledge [from the first two

years] and work together as an ensemble to create and perform in a professionally produced

Repertory Season that is presented to the industry and the public.” Exhibit 3, at 1.

        6.     The President of Pace, Marvin Krislov, has stated that the Rep-Season “is the

culmination of three years of intense study and preparation—and their introduction to the

professional theater world.” Exhibit 4, at 4.

        7.     Co-Presidents, Ellen Burstyn, Alec Baldwin, and Al Pacino have stated that the

Rep-Season, is a celebration of “three years of dedicated study and hard work that provides a

secure foundation for our graduates as they move into the professional world.” Id.

        8.     Defendant has refused to provide any reimbursement to Plaintiff for benefits that

Defendant is no longer providing, and will not provide, during the remaining tenure of Plaintiff

in his final year of his Master of Fine Arts program. (Graduation was scheduled to take place on

May 20, 2020 but has since been canceled. The students have heard no further word from

Defendant about graduation or receiving their diplomas.)

        9.     As such, Plaintiff has been damaged by Defendant’s retention of tuition funds for

educational services that Defendant charged and collected for, but has not provided, and by

Defendant’s cancellation of the Rep-Season, which Plaintiff also paid for, but that Defendant has

chosen to not provide now or at any time in the future.




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          10.   Furthermore, Plaintiff has paid substantial amounts over three years to prepare for

the Rep-Season, but a significant amount of that preparation is all for naught now that the Rep-

Season has been canceled.

          11.   This action seeks refunds of the tuition which Plaintiff has paid for the three year

program, which was predicated on presentation of a play in the Rep-Season, or at a minimum the

refund of a portion of the tuition, which Plaintiff should be reimbursed on a pro-rata basis, along

with the value of the Rep-Season, as contract damages or, in the alternative, as unjust enrichment

damages, and damages associated with the violation of New York General Business Law § 349,

and an Order for Pace to correct its misleading advertising, together with other damages as pled

herein.

                                            PARTIES

          12.   Defendant Pace University is an institution of higher learning located in New

York City, New York, and a citizen of the State of New York.

          13.   Upon information and belief, Defendant has an estimated endowment of

approximately $182 Million. See, https://www.pace.edu/sites/default/files/files/finance-

administration/financial-treasury-services/financial- statements/financial-statements-2018.pdf.

          14.   Upon information and belief, Defendant was eligible to receive federal stimulus

funds under the CARES Act. The CARES Act directs that approximately $14 billion dollars be

distributed to colleges and universities based upon enrollment and requires that institutions must

use at least half of the funds they receive to provide emergency financial aid grants to students

for expenses related to the disruption of campus operations due to COVID-19.

          15.   Upon information and belief, Defendant did receive federal stimulus funds under

the CARES Act, but did not distribute any such funds to third year students as a reimbursement




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for tuition, Fees, or the value of the Rep-Season.

        16.     Plaintiff is an individual citizen of the State of New Jersey.

        17.     Plaintiff was enrolled as a full-time student in Defendant’s graduate program at

The Actors Studio as an aspiring playwright.

        18.     Plaintiff has paid a substantial amount of tuition for all three years of the Master

of Fine Arts (“MFA”) Pace graduate program, including the Spring 2020 semester which was his

final semester at Pace.

         19.     Defendant offers an in-person, hands-on curriculum. Plaintiff did not choose to

attend another institution of higher learning, or to seek a less expensive online degree, but

instead chose to attend Pace and to enroll in-person to take advantage of the promised in-person

give and take associated with an MFA graduate program. To that end, Plaintiff was promised by

Pace, inter alia, networking and mentorship opportunities, and in-person collaboration with other

students and professors, including but not limited to, readings and “workshopping” of his plays

and screenplays. In fact, Pace advertised and promised “faculty and student collaboration

spaces,” succinctly stating “We’re here for YOU – and these new spaces reflect that.” See,

https://www.pace.edu/nyc

         20.     Pace’s general policy, which include The Actors Studio, required in-person class

attendance or it could affect the student’s grades.

         21.     As an example, the attached syllabus for the Process Lab class indicates that the

class is to be held in person. It states for example that “The entire class is responsible for leaving

the room spotless” which only makes sense in the context of in-person classes. Exhibit 7 at 4

(last bullet point).

         22.     Likewise it states that: “6. Since emails have proven to be counter-productive,




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all issues regarding the project shall be dealt with in the classroom sessions face-to-face and not

through email.” Exhibit 7 at 3 ¶6.

        23.    In other words, the syllabus specifically indicates that the classes are to be held

“face-to-face”; and that online experiences are not as effective, or, in fact, “have proven to be

counter-productive.”

        24.    Furthermore, Plaintiff attended a playwriting program at Pace, rather than an

online program, since he viewed an in-person program as being more effective. Other programs

at Pace were and continue to be offered on-line. See, e.g., Exhibit 9.

        25.     Such online programs are less expensive than Pace’s in-person programs.

        26.    For example, in Pace’s MA in Humanities American History Emphasis Program,

each 3 credit course is $750 (Exhibit 9 at 7 (“Costs and Financial Aid”). In contrast, The Actors

Studio classes are approximately $4,500 for each 3 credit class, or approximately six (6) times as

expensive.

        27.    The Actors Studio specifically advertises and promises the following to attract

aspiring playwrights like Plaintiff under the “Unique Aspects of The Actors Studio Drama

School”:

               All students – actors, directors, playwrights – train side-by-side as actors.

               In Friday Workshops [“Process Lab”] the MFA candidates are exposed to different
               elements of the theater, such as script analysis, design, stage combat, directing, and
               auditioning for plays, musicals, film and television.

               All MFA black-box studios for professional training are designed and equipped
               according to state-of-the-art standards.

               Located at prominent and easily reached campus in downtown New York City.

               New York City - the theatre capital of America and the largest media and cultural
               market in the world - provides Pace students with incomparable resources for the
               development of their art and the launching of their careers.



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See, https://www.pace.edu/dyson/departments/actors-studio-drama-school/unique-aspects-actors-
studio-drama-school

        28.     In addition to tuition, Plaintiff was required to pay (and did pay) certain

mandatory fees, including but not limited to the General Fee, Activity Fee, Health Center Fee,

and Technology Fee (collectively “Fees”) which required Plaintiff to be on campus.

        29.     According to Defendant Pace, the Fees are intended to cover “costs associated

with ancillary services provided to students which are not covered by tuition”.

https://pace.smartcatalogiq.com/en/2019-2020/Graduate-Catalog/General-University/Tuition-

and-Fees/Special- Course-Fees/

        30.     As a result of being restricted from campus, Plaintiff no longer had the benefit of

the services for which these Fees have been paid. For example, Plaintiff no longer had access to

libraries, the university healthcare unit, or campus computer labs, and no longer had the ability to

participate in student activities.

        31.     Moreover, Plaintiff chose the Pace program so that he could have his play

professionally produced in New York before, among others, professional agents, literary

managers and artistic directors, and the like.

        32.     The Rep-Season is the cornerstone of the playwriting curriculum. It is the selling

point of the playwriting track for the students, including Plaintiff. The entire playwriting

program is built around the Rep-Season, beginning with the first-year playwriting class in which

the play for the Rep-Season is chosen. This is followed by other playwriting classes described

below, and the “Playwright Directors Unit” (in the second year) where the Rep-Season plays are

workshopped the entire second year in an effort to prepare them for the production the following

year. In the third year, students take “Process Lab” where the play is further developed and




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honed for the end of the year. The third year “Playwriting” class also focuses on fine tuning the

plays for the Rep-Season.

        33.       Simply put, the purpose and culmination of Plaintiff’s three years of hard work

never came to fruition despite Pace’s promises.

        34.       Yet, Pace was unjustly enriched by receiving tuition without providing the

professional Rep-Season and other classes and services that Plaintiff paid for and was entitled to.

        35.       Pace has both refused to provide those benefits at present or in the future and also

refused to refund the amounts paid for those benefits.

        36.       Pace specifically advertised and promised Plaintiff that its Rep-Season was as

follows:

                  REPERTORY SEASON AND INDUSTRY SHOWCASE:

        In their final year, all Actors Studio Drama School students present their work to the

        professional world and the public, in a fully-produced professional Repertory Season at a

        theater in downtown Manhattan. See, https://www.pace.edu/dyson/departments/actors-

        studio-drama-school/unique-aspects-actors-studio-drama-school

       37.        Pace also advertises its “Playwriting Opportunities” as follows:

              •   Their work is staged by their colleagues in Directing and Acting, in class and for
                  the public.

              •   In the third year, their best work is presented in a professionally produced
                  Repertory Season for the general public and the theater profession.

              •   In the last month of their training, their full-length play is professionally presented
                  as a staged reading open to the public.

See, https://www.pace.edu/dyson/departments/actors-studio-drama-school/mfa-curriculum.

        38.       Simply put, Pace specifically marketed and continues to market the benefits of its

on-campus learning experience along with its promise to provide a fully produced professional



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play production.

        39.     Plaintiff relied on Pace’s promises and the benefits it stated it could provide in

choosing to attend the program at Pace.

        40.     Plaintiff’s education has been changed from in-person, hands-on learning to

online instruction, which is not comparable.

        41.     In some cases, the professors, in contradiction to Pace’s promises, simply

canceled classes—for example, the Process Lab class ceased to exist after COVID-19 shut down

the campus.

        42.     To that end, Ken Urso, Director of Professional Development at Pace as of March

25, 2020, stated to the students that “It is our [Pace’s] intention that these [5 Process Lab classes]

will be more than made up.” Exhibit 5, at 2.

        43.     However, they were never made up, breaking Pace’s promise.

        44.     Pace offered no refunds for these canceled classes. It simply kept the pro rata

share of Plaintiff’s tuition, Fees, and the value of the Rep-Season.

        45.     Moreover, Plaintiff’s online instruction during his third year was not

commensurate with or comparable to the same classes being taught in person.

                                 JURISDICTION AND VENUE

        46.    This Court has personal jurisdiction over Defendant because Defendant is

domiciled in New York and conducts business in New York.

        47.    Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial

part of the events or omissions giving rise to the claims occurred in this District, and because

Defendant is an educational institution domiciled and doing business in this District.

        48.    This Court also has subject-matter jurisdiction over this action pursuant to 28




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U.S.C. § 1332(a)(1), because this case is a civil action where the matter in controversy exceeds

the sum or value of $75,000, exclusive of interest and costs, and is between citizens or entities of

different States.

         49.    To that end, the amount at issue is in this matter is excess of $75,000.

         50.    The tuition and associated fees were approximately $45,000 per year during this

three year program. Plaintiff was given a scholarship which brought the cost down to $30,000

per year. As such, Plaintiff spent a total of approximately $90,000 on tuition and Fees to attend

The Actors Studio from 2017-2020. Because the entire three-year program was geared toward

the performance of the Rep Season, as was promised to Plaintiff, as set forth in the Pace Catalog,

its website, statements by the President of Pace University and the Co-Presidents of The Actors

Studio, Plaintiff prays for the return of the entire amount of the approximately $90,000 in tuition

and Fees.

         51.    As an alternative to a refund of full tuition, Plaintiff seeks full compensation so

that Plaintiff can produce his play, as was promised to him as part of the Rep-Season, plus the

difference in tuition and fees between what the classes and program that Pace promised and what

Pace provided, the sum of which is well in excess of $75,000.

         52.    Plaintiff also seeks that Defendant Pace compensate him for the cost for him to

produce his play, which was promised to him by Pace as part of the contract with Pace.

         53.    In the event Plaintiff would have to produce his own play as a result of the

canceled Rep-Season, the amount involved would be at least $75,000. As can be seen by an

independent article, rents for a week of an off-Broadway theater range from $10,000 to $25,000

per week.1



1
    https://www.kgmtheatrical.com/blog/how-much-does-an-off-broadway-show-cost-to-


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          54.   Additionally, the estimate in the article does not include at least the following:

costumes, lighting, fees for a director, actors, set designers (lighting, sound, and props), rehearsal

space, and payment to the actors and director for rehearsal, advertising, and marketing. A 2005

New York Times article stated that an off-Broadway play produced in 2003 doing it “the

cheapest possible variety with “a cast of two, one set, no musicians. Still, it will cost, $240,000

to stage . . .. a figure that included approximately $36,000 for sets and costumes, $30,000 for fees

and creative staff and $40,000 for publicity.”2 The price of such a production in 2020 would be

higher.

          55.   The cost would also include Plaintiff’s lost wages during the period that he would

have to leave his full-time job to produce his play and present it to the public.

          56.   Along with that cost to produce his play, Plaintiff seeks the difference in the

amount that was promised to Plaintiff for in person education less the amount for on-line classes,

especially in a program that concerns acting, directing and playwriting. Moreover, Plaintiff

seeks a return of the Fees that were not returned by Pace once the program went on-line, those

are also included in the Prayer for Relief. Plaintiff also seeks that Pace compensate Plaintiff for

classes that were not held at all (e.g., Process Lab) even though other classes were held online

after in-person classes were transitioned to online.

          57.   In addition to the above recoveries (return of Plaintiff’s full tuition and fees; or

the cost for Plaintiff to produce his own play that was supposed to be presented during the Rep-



produce#:~:text=One%20of%20the%20first%20things,likely%20not%20more%20than%20%24
3%2C000%2C000.&text=Below%20are%20the%20major%20factors,influence%20your%20Off
%2DBroadway%20budget.
2
  https://www.nytimes.com/2005/02/01/theater/newsandfeatures/off-broadway-success-grows-
costly-and
rare.html#:~:text=Long%20considered%20a%20cheaper%2C%20more,some%20costing%20nea
rly%20%241%20million—


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Season with a pro-rata return of tuition and fees), Plaintiff seeks his future lost profits

(recognized in New York) for the cancellation of the Rep-Season.

        58.     The cancellation of the Rep-Season has damaged Plaintiff by depriving him of

unique opportunities for his career which are valued well in excess of $75,000.

        59.     Namely, Plaintiff’s play was supposed to be performed during the 2020 Rep-

Season which would have accorded him five (5) audiences of the professional world including

industry agents and publishers. As result of the cancellation of the Rep-Season, Plaintiff had no

chance to show his play to the professional industry. This damage was directly caused by the

breach of contract formed through the terms set forth in the Pace catalogue, website, and other

Pace publications, or in the alternative unjust enrichment.

        60.     The purpose of the Rep-Season, including the introduction of Plaintiff’s play to

the professional industry, was for the purpose of showing Plaintiff’s play to publishers and

agents. It was also to allow him to work alongside seasoned backstage professionals that would

have potentially opened doors in the theater industry. The loss of those opportunities has

substantially damaged Plaintiff.

        61.     In fact, history has shown that playwrights at The Actors Studio have had their

plays professionally produced or published as a result of the Rep-Season, which opportunity has

been lost by Plaintiff.

        62.     For example, The Actors Studio MFA playwright Sean Michael Welch premiered

his play (“All an Act”) at a previous Rep-Season.3 As a result, shortly thereafter it was

professionally produced at the Edinburgh Fringe Festival.

        63.     The Actors Studio MFA playwright Estelle Olvia’s play (Picket Fence) was



3
        https://pressroom.blogs.pace.edu/tag/sean-michael-welch/


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professionally published as a result of appearing in the Rep-Season.

        64.    Data dictates that theater companies pay “thousands of dollars” for a stage play.4

        65.    This lost opportunity has damaged Plaintiff’s career.

        66.    In addition, it has negatively impacted the value of Plaintiff’s anticipated degree

from Pace, below what Plaintiff had bargained and paid for.

                                  FACTUAL ALLEGATIONS

        67.    Plaintiff was accepted to, and enrolled in, a three-year (3) masters program in

playwriting at Defendant Pace University.

        68.    When Plaintiff applied, it was understood between Plaintiff and Defendant that

the program being offered was an in-person program.

        69.    When Plaintiff was accepted and when he enrolled, there was a meeting of the

minds between Plaintiff and Defendant that Pace would be providing Plaintiff with three (3)

years of in-person instruction.

        70.    Each and every one of the courses offered by Pace as part of Plaintiff’s three-year

program were in-person courses.

        71.    It is understood in academia that the traditional format of a university is to

provide in-person courses. Online courses have been the exception and are specifically

identified as such in advance to students, and to prospective students, to avoid deception.

        72.    Pace, for example, offers some online masters programs, and expressly labels

them as such. See e.g., Exhibit 9.

        73.    Pace identifies online programs as such before students enroll in, and pay for,

those programs.



4
       https://work.chron.com/salaries-playwrights-2483.html


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          74.   Plaintiff’s masters program was never labeled as an online program.

          75.   In addition to the fact that online programs are expressly identified as such in

advance, they are regularly charged to students at lower rates than in-person programs.

          76.   This is the general practice of universities around the country.

          77.   It was also Defendant Pace’s practice in the past.

          78.   Upon information and belief, Defendant’s Spring term began on or about January

27, 2020.5

          79.   Upon information and belief, Defendant’s Spring term was scheduled to conclude

on or about May 16, 2020.6

          80.   As a result of the COVID-19 pandemic, Defendant announced on March 10, 2020

that it was transitioning all classes to online classes effective immediately.7

          81.   In the context of the unique benefits in Plaintiff’s program of study, the online

classes are not equivalent or comparable to the promised classes that were to be provided in-

person.

          82.   The move to online instruction was originally supposed to occur until March 29,

2020 but was extended to apply to the remainder of the semester.8

          83.   As such, Pace has not provided the education, services, facilities, technology,

access, or opportunities for which Plaintiff had paid for.

          84.   Moreover, Pace has failed to compensate Plaintiff for the diminished value and



5        https://www.pace.edu/sites/default/files/files/OSA/academic-
scheduling/academic-calendar-2019-2020.pdf
6        Id.
7
  https://myemail.constantcontact.com/Coronavirus-Update--Remote-
learning-starts- tomorrow.html? soid= 1103481471610& aid=T
fKERJBMl_w
8
  https://myemail.constantcontact.com/Coronavirus-Update--Spring-Semester--
Commencement--and- More.html?soid= 1103481471610&aid=UBum98S-Y2c


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damages Plaintiff has suffered as a result of Pace’s actions.

        85.    Plaintiff left campus on or about March 11, 2020 for spring break, with plans to

return on or about March 22, 2020.

        86.    Defendant canceled the Rep-Season which was not rescheduled during the current

school year.

        87.    Defendant has refused to offer any refund whatsoever to Plaintiff.

        88.    Defendant has refused to refund any Fees paid, refused to provide a refund for the

value lost in switching to online classes, refused to provide a refund for the cancellation of

classes, and refused to provide compensation for the cancellation of the Rep-Season.

        89.    Although Defendant offered some inferior level of academic instruction via online

classes, Plaintiff was deprived of the benefits of in-person classes.

        90.    Moreover, a number of classes were entirely canceled by professors rather than

being taught online. In fact, the “Process Lab” class which was used to prepare the plays for the

Rep-Season was not held at all once classes went online. See, Exhibit 5, at 2.

        91.    However, Defendant failed, and continues to fail, to offer any type of pro-rated

refund on tuition.

        92.    In fact, Defendant has refused, and continues to refuse, to offer any refund

whatsoever for online classes, classes canceled, Fees, and the cancellation of the Rep-Season.

        93.    Moreover, Defendant has admitted that, because the Rep-Season was not held

during Plaintiff’s three years of schooling, it is impossible to provide Plaintiff with an equal

substitute or “reboot” of the Rep-Season in the future.

        94.    To that end, Shawn Lewis, Executive Director ASDS Rep as of March 12, 2020

admitted that if the Rep-Season restarted on August 31, 2020 “some students and staff may not




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be able to participate, having moved away from NYC.” Exhibit 6, at 2.

          95.    Ms. Lewis’ admission is true for all times up to and after August 31, 2020.

          96.    Simply put, there is no equal substitute for the lost 2020 Rep-Season as many of

the graduates have left New York, never to return. Some of the students have left the United

States; also, never to return. For example, one of the actors in Plaintiff’s play has left the

country to go back home to Tunisia.

          97.    Further, many of the graduates, including Plaintiff, has sought, and obtained full-

time employment.

          98.    To replicate the Rep-Season that was promised to Plaintiff during his time at Pace

for some time in the future would be impossible for Pace, and extremely expensive for Plaintiff.

          99.    For example, Plaintiff’s play was first drafted in the Fall of 2017 for specific

actors in his class. After director was chosen, she spent enormous amounts of work with the

chosen actors over the course of 2 years to work up the play for the production in the 2020 Rep-

Season.

          100.   There is no way that any attempt to hold a future Rep-Season could duplicate the

years of hard work that went into the development of Plaintiff’s play throughout his time at Pace.

Any attempt to substitute the actors and director for the development of Plaintiff’s play would

require enormous amounts of time that are not feasible, or would be extremely expensive to

Plaintiff, as Plaintiff would have to leave his job for years while the play is “re-developed” and

rehearsed.

          101.   Further, Plaintiff, the actors and director have not had have the benefit of a year of

Process Lab that was accorded the players to workshop and rehearse the play for preparation for

the Rep-Season, and Pace cannot feasibly provide the same experience in the future. In addition,




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for Plaintiff to attempt to duplicate that on his own would also be extremely expensive.

        102.   Upon information and belief, to produce a play in the Rep-Season costs a

significant amount of time and money. In fact, upon information and belief, Defendant has

documents in its possession which show the “budget” that estimates the costs associated with

each individual play for the Rep-Season by week. Upon and information and belief, this

“budget” comes from, at least in part, Plaintiff’s tuition and/or Fees.

        103.   Yet, Defendant has failed to refund any money to Plaintiff notwithstanding the

cancelation of the 2020 Rep-Season and its admitted impossibility of Pace duplicating the Rep-

Season in the future.

                                   FIRST CAUSE OF ACTION
                                   (BREACH OF CONTRACT)

        104.   Plaintiff realleges all preceding paragraphs as if fully set forth herein.

        105.   New York Courts have long recognized that the relationship between a university

and its students is contractual.

        106.   The terms of the contract between university and student include the rights and

obligations of the parties stated in the university's catalogue and other publications.

        107.   The interpretation of a university's catalogue and other publications, like the

interpretation of any contract, is a matter of law for the Court.

        108.   The Court must first determine whether the contract is ambiguous.

        109.   An ambiguity exists if a contract provision could suggest more than one meaning

when viewed objectively by a reasonably intelligent person who has examined the context of the

entire integrated agreement and who is cognizant of the customs, practices, usages and

terminology as generally understood in the particular trade or business.

        110.   If the contract is ambiguous, then the Court should next consider whether there is



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relevant extrinsic evidence of the parties' actual intent.

        111.   Plaintiff entered into a contract or an implied with Pace upon his acceptance

which provided that Plaintiff would pay tuition and Fees for three years.

        112.   In exchange, the University promised to provide three full years of in-person

classes live in a physical classroom, associated services, and the Rep-Season.

        113.   The terms of the contract include the provisions set forth in the University’s

catalog for Plaintiff’s graduate program, which is posted online. See e.g., Exhibit 8 (“Graduate

Catalog 2019-2020” for the “Actors Studio Drama School – Acting, Directing, and Playwriting,

MFA”).

        114.   As mentioned above, Pace’s website specifically states and promises that from the

beginning of the program that the students set out on a “side-by-side journey—as actors directors

and playwrights together.” Exhibit 10. “Our students and faculty share many intensive classes

together and the spirit of collaboration is present in every course and in every project.”9 Exhibit

10.

        115.   The Actors Studio brochure states and promises that “Students perform, write,

and direct in a small, full-time class setting, working alongside each other intimately building

connections while studying The Stanislavski/Actors Studio Method.”10 Exhibit 11.

        116.   The 2019-2020 catalog11 states and promises: “A three-year program with three

track options, it provides common and specialized course to meet the needs of actors, directors,

and playwrights individually and in collaboration as a repertory group. In the first year, students




9
  https://www.pace.edu/dyson/departments/actors-studio-drama-school/welcomes
10
   http://dysoncollege.uberflip.com/i/194139-actors-studio-graduate-brochure/1?
11
   The Actors Studio had much of the same language printed in the referenced catalog.
http://dysoncollege.uberflip.com/i/194139-actors-studio-graduate-brochure/5?


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are immersed in learning acting methodology and language, as well as training in their individual

craft. In the second year, students are introduced to unique collaborative training that

encompasses the three disciplines. In the third year, the three groups apply their knowledge and

work together as an ensemble to create and perform in a professionally produced Repertory

Season that is presented to the industry and the public. This program, moreover, offers

workshops on auditioning, creating a strong resume, taking a great headshot, effective self-

promotion, building industrial networks, and finding job opportunities.’” Exhibit 8.

        117.   From the first year of the program, playwriting students created and developed

their Rep-Season plays through specific classes like Playwriting 1 and Playwriting 2 (first year

classes where the Rep-Season plays are initially written), Playwriting 3 and 4 (second year

classes where the Rep-Season plays are further developed and revised), Playwrights and

Directors, Unit 1 and Unit 2 (second year classes that started to develop the actual Rep-Season

play with the actors and director), Playwriting 5 and Playwriting 6 (third year classes that were

used to revise and edit Plaintiff’s play) and Process Lab (third year class that continued to “work

up” Plaintiff’s play for the Rep-Season).

        118.   Plaintiff performed his end of the bargain when he paid tuition for three years for

the purposes of preparing for the Rep-Season, including payment for the current Spring 2020

semester along with the required Fees.

        119.   Pace breached the contract with Plaintiff by moving all promised in-person

classes for the Spring 2020 semester to online classes, and canceling the Rep-Season in the 2019-

2020 school year, and specific on-line classes, including the Process Lab class, without reducing

or refunding any tuition and the associated Fees.

        120.   Pace retained tuition and Fees paid by Plaintiff, without providing him the full




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benefit of their bargain.

        121.    Pace has admitted “that it has neither offered nor provided a tuition or fee

refund.” Dkt. 15 at ¶ 25; see also ¶¶ 27, 35, 49, 50, 53, 54 and 59.

        122.    In an effort to unlawfully retain Plaintiff’s tuition and Fees, Pace relies on the

“Emergency Closings And Other Changes In Class Schedules” announcement in the 2019-2020

Graduate School Course Catalog to justify keeping Plaintiff’s fees and tuition. Dkt. 15 at

paragraph 41.

        123.    This so-called policy or “contractual term” to the implied contract between Pace

and Plaintiff is no defense for it to unlawfully keeping Plaintiff’s tuition and Fees.

        124.    As Pace knows, the Rep-Season is not a “class,” and therefore this so-called

policy does not apply.

        125.    Pace has even attached Plaintiff’s transcript to its Answer to the First Amended

Complaint, which does not list a class entitled the “Rep-Season,” or the like. Dkt. 15-5.

        126.    Moreover, Pace’s announcement is directed to contingencies such as a canceled

class due to inclement weather, a professor unavailable due to illness, “malfunction of University

equipment (including computers),” or so forth. It does not apply to the cancellation of the entire

Rep-Season, the cornerstone of the graduate playwriting program.

        127.    Nor does it apply to Pace’s so-called right to reschedule a Rep-Season that was

promised to Plaintiff that it would be held during the 2019-2020 school year.

        128.    In summary, the Rep-Season is not a class.

        129.    The “Emergency Closings And Other Changes In Class Schedules”

announcement also does not apply to the Process Lab class which was canceled for no reason

after classes went online.




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         130.   Despite Pace’s allegations or promises, Pace will not be offering the Rep-Season

in September 2020.

         131.   Likewise, there are no definitive plans to offer the 2020 Rep-Season in the future.

         132.   Any type of offer to date has been illusory and lacking in any type of definitive

terms.

         133.   Moreover, a Rep-Season which corresponds to the prepared for 2020 Rep-Season,

and which represents the prepared for Rep-Season that was to be the culmination of Plaintiff’s

three years in his program, cannot be provided in the future.

         134.   Pace admits a 2020 Rep-Season cannot be duplicated in the future.

         135.   In commenting on the possibility of holding a Rep-Season beginning on August

31, 2020, The Executive Director of the Rep-Season rightfully realized that “Some students may

not be able to participate, having moved away from NYC,” and that “It will be challenging to get

Rep staff and design team back at that time of year.” Dkt. 13-6.

         136.   Moreover, the “challenges” if the Rep-Season would supposedly take place in the

Spring of 2021 or further into the future are daunting. The 2020 students have already scattered

to all parts of the world. One of the main actors in Plaintiff’s play is home in Tunisia, unlikely to

come back to the United States anytime soon.

         137.   Likewise, Plaintiff has recently obtained a full-time job that will not permit him to

take months off to participate in redeveloping the play with potentially different actors and a

director prior to some type of combined Rep-Season – including a yearlong “Process Lab” class

(that was never held after Pace went online).

         138.   To replicate the Rep-Season, would come at substantial cost and expense to

Plaintiff, including the substantial cost to produce and present his play to the public, which is in




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excess of $75,000, along with his lost wages during the period of months in which he would

have to leave his job to produce and present his play.

        139.    Plaintiff has suffered damage as a direct and proximate result of Defendant’s

breaches, including, but not limited to, being deprived of the value of the services that the tuition

and Fees were intended to cover.

        140.    As a direct and proximate result of Defendant’s breach, Plaintiff is legally and

equitably entitled to damages to be decided by the trier of fact in this action, as set forth above,

as well and any and all further damages allowable under the law.

                                  SECOND CAUSE OF ACTION
                                    (UNJUST ENRICHMENT)

        141.    Plaintiff realleges all preceding paragraphs as if fully set forth herein.

        142.    Plaintiff brings these claims in the alternative to the breach of contract claim

brought in the First Cause of Action.

        143.    As an alternative to contract, Plaintiff alleges its claims under the doctrines of

unjust enrichment and/or promissory estoppel.

        144.    In New York, the elements of unjust enrichment are that the defendant was

enriched, at the plaintiff’s expense, and that it is against equity and good conscience to permit the

defendant to retain what is sought to be recovered.

        145.    As set forth above, Defendant Pace has been enriched at Plaintiff’s expense, with

payment of tuition and Fees, and it is against equity and good conscience to permit Defendant to

retain all of that tuition and Fees.

        146.    Pace University has received a benefit at the expense of Plaintiff, to which it is

not entitled.

        147.    Over the course of three years, and most particularly in the Spring 2020 season,



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Plaintiff paid substantial tuition and Fees for live in-person instruction in physical classrooms,

and associated services, and for preparation for the Rep-Season, but did not receive the full

benefit of the bargain as set forth more fully above.

        148.   Plaintiff conferred this benefit on Defendant when he paid the tuition and Fees.

        149.   Defendant has realized this benefit by accepting such payment.

        150.   Defendant has retained this benefit, even though Defendant has failed to provide

the services for which the tuition and Fees were collected for three years, making Defendant’s

retention unjust under the circumstances.

        151.   Equity requires that the University return the monies paid in tuition and Fees for

three years, and the value of the canceled Rep-Season.

        152.   Defendant should be required to disgorge and restitute this unjust enrichment and

should be required to pay damages therefor.

                                 THIRD CAUSE OF ACTION
                                 (PROMISSORY ESTOPPEL)

        153.   Plaintiff realleges all preceding paragraphs as if fully set forth herein.

        154.   In New York, promissory estoppel has three elements: a clear and unambiguous

promise; a reasonable and foreseeable reliance by the party to whom the promise is made, and an

injury sustained by the party asserting the estoppel by reason of the reliance.

        155.   Defendant Pace made numerous clear and unambiguous promises regarding its

programs and services.

        156.   Plaintiff reasonably and foreseeably relied on those promises.

        157.   Plaintiff has sustained injury by reason of the reliance.

                         FOURTH CAUSE OF ACTION
            (VIOLATION OF NEW YORK GENERAL BUSINESS LAW § 349)




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        158.     Plaintiff realleges all preceding paragraphs as if fully set forth herein.

        159.     To succeed on a claim under NY GBL § 349, plaintiff must demonstrate that

defendant: has engaged in (1) consumer-oriented conduct that is (2) materially misleading and

that (3) plaintiff suffered injury as a result of the allegedly deceptive act or practice.

        160.     Under the objective standard of NY GBL § 349, the challenged representation or

omission must be one that is likely to mislead a reasonable consumer acting reasonably under the

circumstances.

        161.     Pace’s acts mentioned herein of providing on-line classes, canceling classes and

other school privileges and a Rep-Season were directed at consumers. Pace’s acts constituted

unlawful, unfair, and fraudulent business practices because students, such as the Plaintiff, were

charged and paid for services that were promised to them but which he did not receive.

        162.     The above-mentioned acts were misleading in a material way in that Pace

requested full tuition and Fees in exchange for in-person classes, access to school facilities and a

Rep-Season.

        163.     Plaintiff has been damaged by reason of being deceived and misled into paying

full tuition and Fees for three years preparing for the Rep-Season, when in-person classes, access

to school facilities and a Rep-Season were ultimately not provided.

        164.     To that end, Pace’s practice was substantially injurious to consumers, such as the

Plaintiff, because they denied Plaintiff and other students the value of goods and services to

which they were entitled to and unfairly and misleadingly caused Plaintiff and other students to

shoulder the entire burden of Pace’s COVID-19 shutdown.

        165.     With its vastly superior economic resources, Pace unfairly chose to pass the entire

burden of the COVID-19 shutdown to students having far less resources, and to have those




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students, including the Plaintiff, bear the entire economic burden of that shutdown.

        166.   Defendant advertised unique and personal educational services to the public at

large, but then refused to provide those services to those who paid for them.

        167.   Furthermore, Pace takes the position that it never directly or impliedly promised

or necessarily intended to provide in-person instruction.

        168.   If that is the case, then Pace has deceptively, unlawfully, and fraudulently led

students who enrolled in Plaintiff’s program to believe that the program would be an in-person

program.

        169.   Pace takes the position that it can unilaterally change the type and nature of

courses, including converting programs from in-person to online, with no recourse by students

whatsoever.

        170.   It further takes the position that it has the right, power, and authority to

unilaterally do so under any circumstances it chooses.

        171.   Plaintiff, and the other students who enrolled in Pace’s three-year playwriting

program, believed that they were enrolling in a fully in-person program.

        172.   When they enrolled, they were never notified or expressly apprised by Pace that

Pace took the position that it could unilaterally convert some or all of the courses to online

courses, with no recourse by the students.

        173.   Nor were they ever notified of Pace’s position that it could convert from

traditionally more expensive in-person courses to typically less expensive online courses with no

refund of the difference to students.

        174.   Pace further takes the position that it can modify, or even fully cancel, the Rep-

Season, and/or the Process Lab, and/or any other programs or services covered by tuition or




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Fees, with no recourse by students, or refund to students.

        175.   Defendant Pace further takes the position that any statements, offers, and

promises it makes to prospective students in advertisements, promotional materials, and/or its

website, are non-binding and unenforceable, and never meant to be binding or enforceable.

        176.   Pace takes the position that it has a practice of making statements which it has no

responsibility to abide by.

        177.   It takes the position that it can engage in the practice of leading students to certain

beliefs about Pace’s programs, via its advertisements, promotional materials, and/or its website,

which Pace then has no responsibility or intention of upholding.

        178.   Pace further takes the position that it has the unilateral power to modify or even

cancel any and all classes at will with no recourse by students, or refund of tuition.

        179.   It takes the position that this is Pace’s official policy.

        180.   Pace also takes the position that it has unfettered authority to make such

decisions.

        181.   Pace also takes the position that it has unfettered authority to keep all tuition or

Fees, in its sole discretion, regardless of whether it provides the programs and/or services that it

promised to students, or that students were led to believe that they would receive.

        182.   Pace takes the position that any such decisions are not subject to judicial review.

        183.   It takes the position that it can unilaterally engage in such decisions without being

subject to the review of the courts in general, or this Court in particular.

        184.   Pace’s positions and practices are deceptive, unlawful, and fraudulent.

        185.   The positions and practices which Pace has adopted in offering its programs to

prospective and current students, and in administering its educational institution, are deceptive,




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unlawful, and fraudulent.

        186.   Defendant has illegally engaged in deceptive acts or practices in the conduct of

business trade or commerce or in the furnishing of services in this state.

        187.   The aforementioned misleading and deceptive misconduct is ongoing and will

continue unless enjoined by the Court.

        188.   By reason of the foregoing, Plaintiff is entitled to his actual damages, restitution,

disgorgement, and payment of his attorneys’ fees.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, respectfully requests judgment in its favor and against

Defendant as follows:

        a.     Declaring that Defendant is liable for breach of contract

        b.     Alternatively declaring that Defendant is liable under the doctrines of unjust

enrichment and/or promissory estoppel;

        c.     Declaring that Defendant is liable under New York General Business Law §349

for misleading and deceptive acts or practices in the conduct of business trade or commerce or in

the furnishing of services in this state, including the unlawful, unfair, and fraudulent business

practices described herein;

        d.     Declaring that Defendant has wrongfully kept monies paid for tuition and other

Fees;

        e.     Awarding Plaintiff damages for the acts complained of herein;

        f.     Awarding Plaintiff contractual damages and/or restitution, and disgorgement of

all profits and unjust enrichment that Pace wrongfully obtained from Plaintiff from tuition and

other fees as a result for the violations of law and unlawful, unfair, and fraudulent business




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practices described herein;

          g.     Awarding Plaintiff contractual damages and/or restitution or unjust enrichment

damages in the amount sufficient to produce its Rep-Season play that was not produced due to

breach of contract or Pace’s unjust enrichment;

          h.     Awarding Plaintiff contractual damages and/or restitution or unjust enrichment

damages for the difference in the cost of the in-person programs and courses and services paid

for by Plaintiff, and the online programs, and lesser courses and services provided by Defendant;

          i.     Awarding injunctive relief as permitted by law or equity, including enjoining

Defendant from retaining the pro-rated, unused monies paid for tuition, and other fees;

          j.     Awarding injunctive relief enjoining Defendant from further continuing to

practice its misleading, deceptive, unlawful, unfair, and fraudulent business practices;

          k.     Awarding Plaintiff’s reasonable attorneys’ fees, costs, and expenses, as permitted

by law;

          l.     Awarding pre-judgment and post-judgment interest on any amounts awarded, as

permitted by law;

          m.     Ordering Pace to engage in a corrective advertising campaign; and,

          n.     Awarding such other and further relief as may be just and proper.

                                   DEMAND FOR JURY TRIAL

          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands trial by

jury in this action of all issues so triable.

Dated: September 14, 2020                       GOLDBERG COHEN LLP

                                                /s/ Lee A. Goldberg
                                                Lee A. Goldberg
                                                Morris E. Cohen
                                                Limor Wigder



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